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                5   GRAYBAR ELECTRIC COMPANY, INC.
                    and COLLEEN WEINGARTEN
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                8                                UNITED STATES DISTRICT COURT

                9               CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

            10

            11       SARA BAIRD,                                     Case No.: 20-479

            12                     Plaintiff,
                                                                     NOTICE OF REMOVAL OF ACTION
            13             v.                                        UNDER 28 U.S.C. § 1441(a)
                                                                     (FEDERAL QUESTION)
            14       GRAYBAR ELECTRIC COMPANY, INC.,
                     a Missouri Corporation; COLLEEN
            15       WEINGARTEN, an individual; and DOES 1
                     through 50, inclusive,
            16
                                   Defendants.
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            19      TO THE CLERK OF THE ABOVE-ENTITLED COURT:

            20             PLEASE TAKE NOTICE that Defendants Graybar Electric Company and Colleen

            21      Weingarten (“Defendants”) hereby remove to this Court the state court action described below.

            22      1.     On January 31, 2020, an action was commenced in the Superior Court of the State of

            23      California in and for the County of Orange, entitled Sara Baird, Plaintiff v. Graybar Electric

            24      Company, Inc., a Missouri Corporation; Colleen Weingarten, an Individual; and Does 1 through

            25      50, inclusive, Defendants, as case number 30-2020-01128877-CU-WT-CJC. A copy of the

            26      Complaint is attached as Exhibit A.

            27      2.     The first date upon which Defendant Graybar Electric Company, Inc. received a copy of

            28      the Complaint was February 13, 2020, when said Defendant was served with a copy of the
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Wiley Price &       NOTICE OF REMOVAL OF ACTION UNDER 28
Radulovich,         U.S.C. § 1441 (a)
LLP
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                1   Summons and Complaint. The first date upon which Colleen Weingarten received a copy of the

                2   Complaint was March 5, 2020. A copy of the Summons is attached as Exhibit B.

                3   3.     A copy of the remaining documentation served on Defendants in the State Court action is

                4   attached as Exhibit C.

                5   4.     On March 9, 2020, Defendants filed an Answer to the Complaint in the State Court action.

                6   A copy of Defendants’ Answer is attached as Exhibit D.

                7   5.     This action is a civil action in which this Court has original jurisdiction under 28 U.S.C. §

                8   1331(a), and is one that may be removed to this Court by Defendants pursuant to 28 U.S.C §

                9   1441(a) in that it arises under a federal statute because: (i) the seventh cause of action of the

            10      Complaint is based on Defendants’ alleged interference with and failure to provide leave in

            11      violation of the Family and Medical Leave Act (“FMLA”), 29 U.S.C. § 2601 et seq; and (ii) the

            12      eight cause of action of the Complaint is based on alleged retaliation in violation of FMLA, 29

            13      U.S.C.§ 2615.

            14      6.     Aside from the Defendants filing this Notice of Removal, there is no other defendant in the

            15      State Court action.

            16

            17      Date: March 10, 2020                                   WILEY PRICE & RADULOVICH, LLP
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            19                                                      By:             /s/ Ian P. Fellerman
                                                                                  IAN P. FELLERMAN
            20
                                                                                Attorneys for Defendants
            21                                                            GRAYBAR ELECTRIC COMPANY, INC.
                                                                             AND COLLEEN WEINGARTEN
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Wiley Price &       NOTICE OF REMOVAL OF ACTION UNDER 28
Radulovich,         U.S.C. § 1441 (a)
LLP
